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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
DANTE A. DIFRONZO,                      )
                                       )
            Plaintiff,                 )
                                       )      Civil Action No.
      v.                               )      21-10867-FDS
                                       )
CITY OF SOMERVILLE, et al.,            )
                                       )
            Defendants.                )
_______________________________________)

        MEMORANDUM AND ORDER ON PRE-JUDGMENT INTEREST RATE

SAYLOR, C.J.

       In this case, the jury found liability on both plaintiff’s 42 U.S.C. § 1983 claim and on his

state-law claim for tortious interference with a contractual relationship. (ECF 99 at 1, 2). The

tort giving rise to the interference claim was the constitutional tort plaintiff established through

his federal law claim. The unified nature of this injury suggests that interest shouldbe awarded at

a unified rate. See, e.g., Okosi v. Roby, 715 F. Supp. 3d 166, 181 (D. Mass. 2024) (prevailing on

state tort claim and federal constitutional tort claim with undifferentiated injury entitles plaintiff

to 12 percent state statutory rate on the damage award).

       Pre-judgment interest on federal law claims is discretionary. See City of Milwaukee v.

Cement Div., Nat. Gypsum Co., 515 U.S. 189, 194 (1995). Pre-judgment interest on state-law

tortious interference claims entitles plaintiffs to an interest rate of 12 percent per annum from the

date the action commences. See Mass. Gen. Laws. ch. 231 § 6B; Primarque Prods. Co. v.

Williams W. & Witts Prods. Co., 988 F.3d 26, 45 (1st Cir. 2021). Compounding pre-judgment

interest is discretionary, but disfavored, in the Commonwealth. See Sec'y of Admin. & Fin. v.

Lab. Rels. Comm'n, 434 Mass. 340, 347–48 (2001).
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       Accordingly, the Court will award interest at a simple rate of 12 percent per annum on

plaintiff’s damages in this case.

So Ordered.


                                                /s/ F. Dennis Saylor IV
                                                F. Dennis Saylor IV
Dated: January 30, 2025                         Chief Judge, United States District Court




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